Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
C]erk of the Court

June 25 2013 (202) 479-3011

Clerk

United States Disti'ict Court for the l\/liddle District
of North Carolina

324 W. Market Street, Room 401

Greensboro, NC 27401

 

Re: Robert A. Rucho, et al.
v. Common Cause, et al.
No. 17-1295

(Your No. 1:16~CV-1026, 1:16-CV-1164)

Dear Clerk:

The Court today entered the following order in the above-entitled case:

The judgment is vacated, and the case is remanded to the United
States DiStrict Court for the Middle Distr'iot of North Carolina for further
consideration in light of Gill v. Wht`tford, 585 U. S. (2018).

Sincei“ely,

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Scott S. Harris, Clerk

CaSe 1:16-CV-01026-WO-.]EP Document 132 Filed 07/13/18 Paoe 1 of 1

